Case 1:19-cv-02921-AMD-RML Document 15 Filed 08/09/19 Page 1 of 1 PageID #: 86



UNITED STATES DISTRICT COURT
EASTER DISTRICT OF NEW YORK
––––––––––––––––––––––––––––––––––––––––––– X
JHON VINAS and ANDRES VINAS                 :
on behalf of themselves and all others      :
similarly situated,                         : 19 Civ. 02921 (AMD)(RML)
                                            :
                             Plaintiffs,    :
                                            : NOTICE OF APPEARANCE
                    -against-               :
                                            :
MLJ PAINTING CORP. and                      :
JOSEPH PICATAGGI, individually,

                      Defendants.
––––––––––––––––––––––––––––––––––––––––––– X

TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:

       Please enter my appearance as counsel in this case for defendants MLJ Painting Corp.

and Joseph Picataggi. I certify that I am admitted to practice before this Court.



Dated: New York, New York
       August 7, 2019
                                                     /s/Jennifer G. Cramer
                                                     Jennifer G. Cramer

                                                     Solomon & Cramer LLP
                                                     1441 Broadway, Suite 6026
                                                     New York, New York 10018

                                                     Telephone: (212) 884-9102
                                                     Facsimile: (516) 368-3896
                                                     Email: jcramer@solomoncramer.com
